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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    STARLINE MEDIA, INC. and DAVID
    NDALAMBA,

                       Plaintiffs,

    v.                                                Case No: 6:20-cv-1210-GAP-GJK

    STAR STATUS GROUP,
    ELISHA TRICE and
    JOMY STERLING

                       Defendants.


                                           ORDER

          This matter is before the Court on Plaintiffs’ Motion for Extension of Time

    to Complete Discovery (Doc. 102). In ruling on this Motion, the Court also

    considered Defendants’ Response in Opposition (Doc. 118) and arguments

    presented at a telephonic hearing held on January 10, 2022. At the hearing, the

    parties advised that they have resolved the Motion as to the production of Roblox

    files in a usable format. Upon consideration, counsel for Defendants is hereby

    ORDERED to provide Plaintiffs within seven days all written communications,

    including attachments, between Defendants’ counsel and Plaintiffs’ prior counsel,

    Louis Raymond Gigliotti, Jr., or his firm, including emails, letters, and texts. The

    Court takes any remaining issues under advisement.
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          DONE and ORDERED in Chambers, Orlando, Florida on January 10, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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